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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA, *
Plaintiff, *
v. * CIVIL NO. JKB-17-0099
BALTIMORE POLICE e
DEPARTMENT, et al.,
*
Defendants.

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AMENDED SCHEDULING ORDER

Consistent with the Court’s duty to ensure Defendants’ compliance with the Consent
Decree (ECF No. 2-2, as modified by ECF No. 39, at § 493), on November 22, 2022, the Court
entered a Scheduling Order setting dates for monthly conferences and quarterly public hearings
with the Parties and the Monitoring Team. (ECF No. 573, amended by ECF Nos. 575, 604.) That
Order is hereby AMENDED as follows:

1. The Quarterly Public Hearing scheduled for August 17, 2023 at 10:00 am. is

RESCHEDULED for August 24, 2023 at 10:00 a.m.

All other dates, topics, and locations in the previously announced schedule remain unchanged.

DATED this f day of May, 2023.
BY THE COURT:

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James K. Bredar
Chief Judge

